                                                                                       DISTRICT OF OREGON
                                                                                            FILED
                                                                                         November 01, 2018
                                                                                    Clerk, U.S. Bankruptcy Court
IT IS ORDERED AND NOTICE IS GIVEN THAT:
     (a) The court will prepare a Notice of Hearing on the application and deliver it to the applicant for
  service per this order.
     (b) The applicant must comply with all provisions in the court's Notice to Serve Document(s), and
  must BOTH (1) serve a copy of the Notice of Hearing, and copies of the other documents on the
  entities and as specified in the Certificate of Service below; AND (2) FILE a completed Certificate of
  Service using a copy of this document (WITHOUT any attachments).
  The court further ORDERS that any objection to the application below must be filed and served within 21
  days after mailing of the application and notice of hearing to all creditors. If there is no timely
  objection--and if applicant consents to the court's reduction of the application amount by $157.50 for
  reasons explained in a separate letter--applicant may so inform the court, lodge an order reflecting that
  reduction, and the court will terminate the hearing.




                                                                     _______________________________________
                                                                                DAVID W. HERCHER
                                                                               U.S. Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF OREGON

In re                                                 )
                                                      )             17-30204-dwh13
                                                          Case No. _______________
William John Romaine                                  )
                                                      )   [ONLY FOR CHAPTER 13 CASES]
                                                      )   APPLICATION BY DEBTOR'S ATTORNEY
                                                      )   FOR SUPPLEMENTAL COMPENSATION;
Debtor(s)                                             )   AND ORDER AND NOTICE THEREON
                                                                                  117 SW Taylor St, Ste 300
I, the undersigned debtor's attorney, whose address and phone number are _____________________
Portland, Oregon 97204, 503-417-0500
_________________________________________________________________________,                           apply for
                                                                            05/09/17 to __________
additional compensation from the debtor's estate for the period from __________              10/11/18 in the
sum of $____________
              3,696.14      (which is not less than $500 unless this is a final application, and which, if this
                                        1,000
is a final application, includes $____________     in anticipated additional fees to complete the case), per
the attached itemized billing summary.

I CERTIFY THAT:

    1. This (Check One)          IS     IS NOT my final application for compensation in this case.

                                                      3810
    2. I have previously been awarded a total of $____________. If granted, the total approved
                                    7,506.14
    compensation amount will be $____________.

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    3. My Disclosure of Compensation shows the debtor(s) and I agreed to:
       ___ Schedule 2 ___ Schedule 3.

    4. My previous application for compensation (i.e., either the original compensation disclosure or a
    supplemental application) was filed on __________,
                                                01/24/17 which is more than six months from the date of
    this application unless this is my final application.

    5. Allowance of this application will (mark all that apply):
       __ not affect the distribution to creditors.
                                                                       20
       __ not change the length of the plan which is estimated at _______   months.
       __ change the length of the plan from an estimated _____ months to an estimated ______
           months.
       __ delay the distribution to creditors by approximately ______ months.
       __ reduce the distribution to general unsecured creditors from an estimated _____% to an
           estimated _____ %
       __ require that the debtor pay more, either by additional or increased plan payments sufficient
           to pay the additional fees.
                  Plan pays 100%, trustee has funds on hand to pay all claims and fees.
       __ other: _____________________________________________________________________
          _________________________________________________________________________.

    6. Applicant will file a modified plan within 28 days of allowance of the compensation requested in
    this application if the allowance will otherwise require plan modification.

    7. Applicant declares that, except as explained below, the minimum time billed is not in increments
    that exceed .1 hour (6 minutes), and that any time spent working on multiple matters concurrently
    has been allocated between those matters so that total billings do not exceed the actual time spent:




DATE: __________
        10/26/19                                             /s/ Troy G. Sexton
                                                             _____________________________________
                                                             Debtor's Attorney



STOP: BEFORE SERVING COPIES, SUBMIT THE MOTION TO OBTAIN A JUDGE'S ORDER!


                                      CERTIFICATE OF SERVICE

I certify that on ____________ a copy of this application and order thereon (without attachments unless
the order requires service of an economic impact statement on the debtor), and any Notice of Hearing
prepared by the court per the judge’s order, were served on the debtor, and, if amounts requested and
anticipated exceed $1,000, on all creditors who filed claims and entities that filed a request to receive all
case notices.
                                                 _____________________________________________
                                                 Signature & Relation to Applicant
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Date: 10/19/2018                                                   Detail Transaction File List                                                                    Page: 1
                                                                  Motschenbacher & Blattner LLP

                          Trans                         Hours
           Client          Date   Tmkr          Rate    to Bill            Amount
Fees
        3584.001     05/09/2017   TGS         315.00     0.30               94.50   Telephone conference with W. Romaine regarding tax returns.
        3584.001     08/08/2017   TGS         315.00     0.50              157.50   Prepare motion to allow late claim (No Charge).
        3584.001     08/08/2017   TGS         315.00     0.50              157.50   Prepare proofs of claim for Ainsworth and Verizon.
        3584.001     08/08/2017   DPT         150.00     0.50               75.00   Edit, finalize and file Motion to Allow Late Claim.
        3584.001     08/22/2017   TGS         315.00     0.80              252.00   Conference with W. Romaine regarding payoff information, case status, and
                                                                                    secured claim issue.
        3584.001     09/13/2017   TGS         315.00     0.70              220.50   Attend hearing regarding late claims. (No Charge).
        3584.001     11/09/2017   TGS         315.00     1.50              472.50   Conference with W. Romaine regarding house sale issues, plan mechanics and
                                                                                    projected plan payoff amounts.
        3584.001     03/12/2018   TGS         315.00     0.70              220.50   Conference with W. Romaine regarding bankruptcy case status and changes to
                                                                                    plan.
        3584.001     07/23/2018   TGS         315.00     0.30               94.50   Telephone conference with W. Romaine; analyze payoff issues.
        3584.001     07/27/2018   TGS         315.00     0.30               94.50   Telephone conference with W. Remain regarding house sale and case payoff
                                                                                    issues.
        3584.001     08/06/2018   TGS         315.00     0.40              126.00   Telephone conference with W. Romain regarding house sale.
        3584.001     08/07/2018   TGS         315.00     0.30               94.50   Emails with trustee regarding payoff calculation and necessary outstanding items;
                                                                                    emails with escrow regarding same.
        3584.001     08/18/2018   TGS         315.00     0.50              157.50   Review IRS payoff analysis; emails with title company regarding closing details.
        3584.001     08/20/2018   TGS         315.00     1.80              567.00   Review preliminary title report and seller's statement; review previous filings
                                                                                    regarding Oregon homeowners assistance lien; telephone conference with W.
                                                                                    Romaine regarding same; emails with trustee regarding lien and payoff issues.
        3584.001     08/21/2018   TGS         315.00     0.30               94.50   Emails with title company and trustee regarding closing statement and related
                                                                                    payoff issues.

Total for Fees                               Billable    8.70            2,658.00
                                         Non-billable    0.70              220.50
                                                Total    9.40            2,878.50

Expenses
      3584.001       04/30/2017   TGS                                        7.20 Postage
      3584.001       09/30/2017   TGS                                       30.94 Postage

Total for Expenses                           Billable    0.00               38.14

                                                                        GRAND TOTALS

                                             Billable    8.70            2,696.14
                                         Non-billable    0.70              220.50
                                                Total    9.40            2,916.64




TGS                                          Case 17-30204-dwh13                 Doc 43           Filed 11/01/18                                   Friday 10/19/2018 1:19 pm
